       1:17-cv-01100-SEM-TSH # 104             Page 1 of 2                                        E-FILED
                                                                       Monday, 22 July, 2019 08:45:59 AM
                                                                           Clerk, U.S. District Court, ILCD

042730/19344/JNR/DSF

                          UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF ILLINOIS

DERRICK JONES,

                       Plaintiff,

v.                                                   Case Number 17-cv-1100

WARDEN MICHAEL MELVIN, MAJOR
SUSAN K. PRENTICE, C/O C. BOLTE,
NURSE GEORGIA and LT. R.D. ALLEN,

                       Defendants.

                                 STIPUATION FOR DISMISSAL

       NOW COME the parties; plaintiff Derrick Jones, by his attorney, Melinda Longford

Power; defendants, Richard Allen, Christian Botle, and Susan Prentice, by their attorney, Kwame

Raoul, Attorney General of the State of Illinois; and defendant, Georgia Papineau, by her

attorneys, Cassiday Schade LLP, and, pursuant to Rule 41(2)(I)(A)(ii) of the Federal Rules of

Civil Procedure, hereby stipulate to the dismissal of this action with prejudice and with each

party to bear their own costs.

                                              By: /s/ Melinda Longford Power, with consent
                                                  Melinda Longford Power for plaintiff
                                                  Derrick Jones


                                              By: /s/ Maria D. Gray, with consent
                                                  Maria D. Gray for defendants, Richard Allen,
                                                  Christina Bolte and Susan Prentice


                                              By: /s/ Terence J. Corrigan
                                                  Terence J. Corrigan for Defendant, Georgia
                                                  Papineau
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